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/(\ ..

 

BREW BROTHERS, INC., et al.,

Defendants.

IN THE UNITED sTATEs DISTRICT COURT s L”~zi:// % _
FoR THE wEsTERN DISTRICT oF TENNESSEE ~ § /: ~/;
EASTERN DIvIsIoN /5:¢ 'f<
<Fy/‘\/`) 1 593
LAURA CRANFILL, individually, ) f Q(;>;’,;/:D
and LAURA CRANFILL and sTEvEN ) ,.¢,>J;;’” 515
cRANFILL, as next kin of TYLER ) ”/,1“'
CRANFILL, deceased, and KATIE )
CRANFILL, )
)
Plaintiffs, )
)
v. ) NO. 04-1147 T/An
)
)
)
)

 

REPORT AND RECOMMENDATION

 

Plaintift`s filed this personal injury action against Defendants Brew Brothers, Inc., Jen'y
Gay, Mike Jones, and Jason Patterson. Defendant Jason Patterson has since been dismissed from
this action.l On September 30, 2005 the Clerk of the Court entered default judgment against
Defendants Brew Brothers, Inc., Jerry Gay, and Mike J ones (colleetively “Defendants”). The
Court Granted Plaintift`s Motion for Default Judgment on October 5 , 2004,2 and United States
District Judge J ames D. Todd referred this matter to the Magistrate Judge for a report and

recommendation on damages

 

lThe summons for Defendant Jason Patterson was returned as unexecuted on Septeniber 14, 2004. As such,
the Court entered an Order requiring Plaintiffs to show cause why the action against Defendant Patterson should not
be dismissed for failure to prosecute, and Plaintiffs responded with a letter stating they had no objection to the
dismissal of Defendant Patterson. Theret`ore, at docket entry 33, the Court dismissed Jason Patterson.

2Defendants filed a Motion to Set Aside Order on Motion for Default Judgment, which was denied by Judge
Todd on December 29, 2004.

This document entered on the docket sheet ln compliance

with Hute 58 and,'or_79 (a) FHCP on Fl §§ 15 ‘C_D' -_ '3§\

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BACKGROUND
1. The Accident

Plaintiffs filed this personal injury and wrongful death action against Defendants under a
dram shop cause of action. Plaintift`s were involved in an automobile accident occurring on
Interstate 1-40 in Jackson, Madison County, Tennessee, which resulted in serious injuries to
Plaintiffs Laura Crantill and Katie Cranfill and the death of Plaintiff Tyler Cranfill. Defendants
are the owners of Barley’s Brewhouse and Eatery (“Barley’s”), a bar and restaurant in Jackson,
Tennessee.

ln their Complaint, Plaintiffs allege that Mr. William J. Thweatt (“Thweatt”) operated a
motor vehicle while in an intoxicated state when he struck Plaintiffs’ vehicle. Plaintiffs further
allege that Thweatt consumed excessive quantities of alcohol at Barley’s on July 22, 2003, and
that Thweatt and a female companion had to be assisted to their car as the two left Barley’s that
evening. Thweatt was driving his car on lnterstate 40 in an eastbound direction when he crossed
the median at an estimated speed of 90 miles per hour. Thweatt struck Plaintiffs’ car head on,
causing the injuries to Laura Cranfill (“l\/[rs. Craniill”) and Katie Cranfill (“Katie”) and the death
of Tyler Cranfill (“Tyler”). Thweatt was also killed in the car accident, but a blood alcohol test
concluded that at the time of the accident Thweatt’s blood alcohol level was at a .27 level of
intoxication

Plaintiffs filed this action pursuant to Tennessee Code Annotated § 57-10-102 against
Defendants as sellers of the alcoholic beverages that proximately caused Plaintiffs’ injuries and
damages Plaintiffs allege that Defendants sold alcohol to Thweatt when he was obviously

intoxicated and that the injuries resulting from Thweatt’s loss of control of his vehicle were the

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direct and proximate result of Thweatt’s consumption of alcohol sold at Barley’s.
II. Laura Cranl"lll

Mrs. Cranfill received serious and life threatening injuries in the accident Specifically,
she suffered from several injuries, including an open abdominal wound, a laceration to the
spleen, various fractures, atelectasis of the left lung, and cuts and contusions over her body.3 Ms.
Cranfill spent 67 days in multiple hospitals after the accident, and she had multiple surgeries.
Plaintiffs allege that Ms. Cranfill.’s healing was protracted and painful, and that wound care for
her injuries was extremely complicated and painfull She was bound to a wheel chair for almost
five months, and she has had only moderate success in returning to activities she enjoyed before
the accident Ms. Crantill sustained medical charges of over $40(),000.00.

Ms. Cranfill now suffers from numerous disabilities, including (l) osteoarthritis of her
right ankle, (2) weakness of her left knee, (3) a cyst on her left breast, (4) a blank spot in her
vision, (5) mechanical weakness and instability limiting ambulation to no more than 2-3 steps
without assistance, (6) back pain, (7) difficulty in sitting and sleeping, (8) ankle pain, and (9) the
inability to walk. She is required to use a wheelchair or a four-wheeled walker, and the accident
left her with many disfiguring scars. She will require future surgeries and on-going medical
treatment

Plaintiffs allege that Ms. Cranfill’s life has been altered in the following ways. She can
no longer cook or do household chores. She cannot exercise, and as a result of her inability to

exercise, she has gained over 65 pounds since the accident She cannot take a bath in a tub, and

 

3'l`he injuries to Plaintiffs, and any allegations concerning those injuries, were taken from the
“Memorandum Prepared with Assistance of Laura Cranfill" filed with the Court on November 17, 2004.

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cannot take more than 4-5 steps without support She cannot participate in the recreational
activities she used to take part in before the accident, including camping, tennis and bowling.
She must have a companion with her at all times for support and assistance, and currently, she
cannot go into the sun due to the effect the sun’s rays will have on her scars. She also suffers
from sadness and depression as a result of the death of her son in the accident

Ms. Cranfill missed seven months of work after the accident At her salary of$35,152
per year, l\/[s. Cranfill missed $20,505 of pay as a result of the accident. Plaintiffs allege that she
also missed an increase in her salary while recovering from the injuries, which would have given
her a raise of $3.00 an hour. This raise Would have entitled Ms. Cranfill to an additional $6,240
in salary.

II. Katie Cranfill

Katie Cranfill is 12 years old. She was 10 years old at the time of the accident. Katie
sustained various injuries as a result of the accident, but her physical injuries were not as severe
as the other occupants of the car. Katie’s injuries included (l) a left femur fracture, (2) a right
bone forearm fracture, (3) a spine compression fracture, (4) a pulmonary contusion, and (5) cuts
and contusions over her body. Katie was hospitalized in both Tennessee and Texas, and her
medical bills currently total $30,806.22. Katie still suffers from back pain, and she has touch
sensitivity to her right arm which, although healed, is somewhat bowed.

Katie is in the 6th grade, and although she has returned to most of her pre-wreck
activities, she has exhibited certain signs of post-traumatic stress disorder. Katie is often anxious
and overly protective of her mother, and at other times Katie is resentful of the limitations placed

on her by Ms. Cranfill, who is overly protective of her only remaining child.

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Ill. Tyler Cranfill

Tyler Cranfill was born on August l3, 1990, and Tyler was 12 years old when he died
from injuries sustained in the accident on July 23, 2000. Plaintiffs allege that Tyler survived the
crash and endured over two hours of pain and suffering before he died. lt took 28 minutes for
emergency personnel to remove Tyler from the wrecked car, and he sustained multiple fractures
of his arms and legs, open wounds, and tissue injuries He had to be restrained during efforts to
begin intravenous access and incubation. He was transferred by air ambulance to the Jackson-
Madison County General Hospital where personnel noted he was alert, talkative, and following
commands Although the emergency room staff spent two hours treating Tyler, his injuries were
too severe and he died in the early morning hours of July 23, 2000. Tyler’s body was flown back
to Texas for burial. Plaintiffs allege his medical expenses totaled S'/`,SOS.SO, and his funeral
expenses totaled $4,51().00.

Before his death Tyler was an A-B student at Liberty Hill Middle School in Killeen,
Texas. He participated in several school sports, and he was involved with his school’s choir.
Plaintiffs state that Tyler had every intention of going to college and becoming a scientist, and
that Tyler wanted to make a great deal of money in order to take care of his mother. Plaintiffs
submitted to the Court an Appraisal of Economic Loss for Tyler, which was prepared by Dr.
Kent Gilbreath of Baylor University. Dr. Gilbreath prepared three separate estimates for Tyler’s
pecuniary value of life: (1) as a high school graduate, estimated at 3835,661; (2) with two years
of college education, estimated at $925,309; and (3) as a college graduate, estimated at

31,981,890.

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ANALYSIS
l. Choice of Law

ln this diversity of citizenship case, Tennessee law should be applied to determine the
fault and liability of the parties Tennessee has adopted the Restatement (Second) of Torts
approach to determining choice of law in diversity cases. Under the Restatement approach, when
determining which state’s law to apply, the Court should take into consideration “(a) the place
where the injury occurred, (b) the place where the conduct causing the injury occurred, (c) the
domicile, residence, nationality, place of incorporation and place of business of the parties, [and]
(d) the place where the relationship, if any, between the parties is centered.” Messer Gri'eshei`m
]na'ustri`es, Inc. v. Cryotech ofKi'ngsport, hic., 131 S.W.3d 457, 474 (Tenn. Ct. App. 2003). ln
this case, the injury occurred in Tennessee, the Defendants are from Tennessee, and the Plaintiffs
filed this lawsuit in Tennessee. As such, Tennessee has the most significant relationship and
Tennessee substantive law should be used.

II. Ms. Cranfill’s Personal Injuries

Under Tennessee law, “[t]here is no mathematical rule or formula for computing damages
in a negligence case.” Brown v. anl, 863 S.W.Zd 425, 429-30 (Tenn. Ct. App. 1993). In
personal injury cases, the “plaintiff is entitled to reasonable compensation for bodily injuries,
pain and suffering, disability, loss of earnings and expenses.” Id. at 430. Tennessee also permits
a plaintiff to recover damages for loss of enjoyment of life in personal injury cases. See
Lawrence v. Town ofBri`ghton, No. OZAOl-OSOl-CV-OOOZO, 1998 WL 794418, at *5 (Tenn. Ct.
App. Oct. 28, 1998). There is no “fixed or certain standard for measuring such damages,” but the

damages are determined by the trier of fact using “the facts and circumstances of the case.”

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Brown, 863 S.W.Zd at 430. The amount awarded is primarily for the jury, or in the case of a
non-jury trial, to the trial j udge. See id. As noted by the Sixth Circuit Court of Appeals, the
Court should award compensatory damages “to make the person whole in the only way the court
knows how, which is to give an equivalent in money for each loss suffered.” Thompson v. Nar ’!
Railroad Passenger Corp., 621 F.Zd 814, 824 (6th Cir. 1980).

The Court concludes Ms. Cranfill is entitled to compensation for her medical bills in the
amount of $421,706.34. (See Mem. Prepared with Assistance of Laura Cranfill, at Ex. 14). For
good cause shown the Court recommends that Defendants should be responsible for paying all of
Ms. Cranfill’s medical bills, or $421,706.34.

Ms. Cranfill is also entitled to monetary damages for pain and suffering Damages for
pain and suffering “compensate[] the victim for the physical and mental discomfort caused by the
injury . . . .” Thompson, 621 F,Zd at 824. ln this case, Ms. Cranfill has experienced significant
pain and suffering Ms. Cranfill has been operated on numerous times, and she is expected to
undergo numerous other operations in the future. Ms, Cranfill’s injuries included damages to her
internal organs, broken bones, cuts and contusions throughout her body. Pictures provided to the
Court further evidence that the injuries sustained by Ms. Cranfill were more than minor injuries
Ms. Cranfill cannot stand for long periods of time, and she has been required to undergo
hundreds of hours of treatment for her injuries. The Court therefore recommends that
Defendants should be required to pay Ms. Cranfill $1,000,000.00 for the physical pain and
suffering caused by the accident.

Ms. Cranfill is also entitled to damages for her disabilities and for her loss of enjoyment

of life, which “compensates the victim for the limitations on the persons’s life created by the

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injury.” Id. As a result of the accident, Ms. Cranfill can no longer cook, do household chores,
exercise, take a bath in a tub, participate in many recreational activities such as camping, tennis
and bowling, or take more than 4~5 steps without support Ms. Cranfill cannot go into the sun
due to the effect the sun’s rays will have on her scars, and Ms. Cranfill suffers from sadness and
depression as a result of the death of her son in the accident

As mentioned above, Ms. Cranfill suffers from numerous disabilities, including (1)
osteoarthritis of her right ankle, (2) weakness of her left knee, (3) a cyst on her left breast, (4) a
blank spot in her vision, (5) mechanical weakness and instability limiting ambulation to no more
than 2-3 steps without assistance, (6) back pain, (7) difficulty in sitting and sleeping, (8) ankle
pain, and (9) the inability to walk. Furtherrnore, Ms. Cranfill is required to use a wheelchair or a
four-wheeled walker, and the accident left her with many disfiguring scars. “Permanent
impairment compensates the victim for the fact of being permanently injured whether or not it
causes any pain or inconvenience . . . .” Id. As such, the Court recommends that Ms. Cranfill
should be awarded the sum of $l ,000,000.00 for her injuries and loss of enjoyment of life.

Finally, Ms. Cranfill should be awarded damages for loss of earning capacity and receive
compensation for those wages she missed while recovering from the accident Plaintiffs allege
that Ms. Cranfill did not earn $20,505.00 in salary as a result of the accident Moreover, as a
result of a missed raise, Ms. Cranfill did not earn an additional 36,240.00 in salary. As such, the
Court recommends that Defendants should pay Ms. Cranfill $26,745.00. The Court also
concludes that in the future, Ms. Cranfill will be unable to earn a salary similar to her pre-
accident salary. As such, Defendants should be required to pay Ms. Cranfill for her future loss of

earning capacity. After review, the Court recommends that Defendants pay Plaintiffs

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3125,000.00 for Ms. Cranfill`s future loss of earning capacity.

Therefore, for Ms. Cranfill’s medical bills and all of the injuries sustained by Ms.
Cranfill, the Court recommends that Defendants be required to pay Plaintiffs $2,573,451.34.

III. Katie’s Personal Injuries

Following the guidelines set forth above, Katie should be awarded damages for her
personal injuries Specifically, Katie “is entitled to reasonable compensation for bodily injuries,
pain and suffering, disability, loss of earnings and expenses.” Brown, 863 S.W.Zd at 430.
Plaintiffs have alleged that Katie incurred 830,806.22 in medical expenses, and Defendants
should be required to fully-pay Katie’s medical bills. Similar to her mother, Katie has also
experienced pain and suffering for her injuries. Katie’s medical bills alone evidence substantial
hardship on her life, as she spent time in two separate hospitals for the injuries she sustained in
the accident Therefore, the Court recommends that Defendants be required to pay Katie
3150,000.00 for pain and suffering incurred as a result of the accident Plaintiffs admit that Katie
has returned to most of her daily activities, but Katie will never be the person she was before the
accident Therefore, in order to make Plaintiff whole again, the Court recommends that
Defendants should be required to pay Katie $100,000.00 in damages for disabilities and loss of
enjoyment of life. Because Katie did not work, she is not entitled to damages for loss in earning
capacity.

Therefore, for Katie’s medical bills and for all of the injuries sustained by Katie, the
Court recommends that Defendants be required to pay Plaintiffs 3280,806.22.

III. Tyler’s Wrongful Death Damages

Wrongful death damages in Tennessee are determined by applying Tenn. Code Ann. §

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20-5-113, which notes in pertinent part that a party shall be entitled to “have the right to recover
for the mental and physical suffering loss of time, and necessary expenses resulting to the
deceased from the personal injuries, and also the damages resulting to the parties for whose use
and benefit the right of action survives from the death consequent upon the injuries received.”
Tenn. Code Ann. § 20-5-113. Wrongful death damages are split into two classifications “The
first classification permits recovery for injuries sustained by the deceased from the time of injury
to the time of death. Damages under the first classification include medical expenses physical
and mental pain and suffering funeral expenses, lost wages, and loss of earning capacity.”
Jordan v. Bapti'st Three Rivers Hospital, 984 S.W.Zd 593, 600 (Tenn. 1999) (citing Tenn. Code
Ann. § 20~5-113). “The second classification of damages permits recovery of incidental damages
suffered by the decedent’s next of kin.” Ia’.

Plaintiffs are entitled to receive damages for the various expenses incurred before Tyler
died. Plaintiffs have submitted that Tyler incurred 37,808.50 in medical bills; therefore, the
Court recommends that Defendants should compensate Plaintiffs for these expenses Tyler did
not work, so Plaintiffs are not entitled to damages for lost wages and loss of earning capacity, but
Tyler’s family did incur funeral expenses Plaintiffs submit that they incurred $4,510.00 in
funeral expenses, but these expenses include three cemetery plots at $700.00 each. (See Mem.
Prepared with Assistance of Laura Cranfill, at Ex. 15). Plaintiffs should not be compensated for
the excess cemetery plots; therefore, the Court recommends that Defendants should compensate
Plaintiffs $3,110.00 for funeral expenses

The Court should also award Plaintiffs damages for Tyler’s pain and suffering While

there are no actual formulas for determining an amount of damages for pain and suffering the

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Tennessee Pattern Civil Jury lnstructions state that the following should be considered by the

trier of fact:

Reasonable compensation for any physical pain and suffering suffered by the

Plaintiff and which his or her injury was the proximate cause and for pain and

suffering reasonably certain to be experienced in the future from the same cause.

No definite standard or method of calculation is prescribed by law by which to fix

reasonable compensation for pain and suffering Nor is the opinion of any witness

required as to the amount of such reasonable compensation fn making an award

for pain and suffering, you should exercise your authority with calm and

reasonable judgment and the damages you fix shall be just and reasonable in the

light of the evidence
Cortazzo v. Blackburn, 912 S.W.Zd 735, 741 (Tenn. Ct. App. 1995). As mentioned, the amount
of damages awarded is primarily for the jury to determine See Patterson, 879 S.W.2d at 741. ln
this case Tyler suffered acute and severe pain following the car accident Rescue workers needed
almost half an hour to remove Tyler from the vehicle, and once removed, Tyler had to be flown
via helicopter to Jackson-Madison County General Hospital’s critical care unit for treatment of
his many internal injuries and broken bones Support staff at the hospital recorded that Tyler
appeared alert and talkative when he arrived at the hospital; therefore, Tyler was conscious of the
pain he was experiencing Moreover, Tyler’s pain was so great that he had to be restrained when
hospital personnel began to work to save his life. As such, for these reasons, the Court
recommends that Plaintiffs be awarded 3100,000.00 for Tyler’s pain and suffering

Plaintiffs are also entitled to recover the incidental damages suffered by Tyler’s next of
kin, which are usually determined to include the pecuniary value of the decedent’s life and loss of
consortium damages “When a plaintiff’s recovery is based upon the pecuniary value of the

decedent’s life, the trial court must make this determination upon a consideration of several

factors, including the decedent’s life expectancy, ‘age, condition of health and strength, capacity

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for labor and for earning money through skill in any art, trade, profession, and occupation or
business.” Hurton v. Cz'ry ofSavannah, 968 S.W.2d 808, 811 (Tenn. Ct. App, 1998) (quoting
Thral`lki`ll v. Fatterson, 879 S.W.2d 836, 841 (Tenn. 1994)). Pecuniary value also takes into
account the decedent’s living expenses, which are subtracted from the total pecuniary value.

The Court recommends that Plaintiffs should be awarded a lump sum amount of damages
to compensate Plaintiffs for Tyler’s pecuniary value of life. Because he was only a teenager,
there is no way of knowing how Tyler would live his life, what profession he would choose,
Whether he would be married, or how long he would live. As such, the Court recommends that
Plaintiffs should be awarded the average of the three recommended pecuniary values prepared by
Dr. Kent Gilbreath of Baylor University. As mentioned above, these values are: (1) as a high
school graduate, estimated at $835,661.00; (2) with two years of college education, estimated at
$925,309.00; and (3) as a college graduate, estimated at $1,981,890.00. The average ofthese
three figures is $1,247,620.00; therefore, the Court recommends Plaintiffs be awarded this sum.

The Court also recommends that Ms. Cranfill and her husband be awarded loss of
consortium damages for Tyler’s death. As mentioned, pecuniary value “is also comprised of the
value of human companionship.” Thurman v. Sellers, 62 S.W.3d 145, 159 (Tenn. Ct. App.
2001). Human companionship consists of “several elements encompassing not only tangible
services provided by a family member, but also intangible benefits each family member receives
from the continued existence of other family members Such benefits include attention, guidance,
care, protection, training, companionship, cooperation, affection, love, and in the case of a
spouse, sexual relations” fd. (quoting Jordan, 984 S.W.2d at 602). Tennessee courts have held

that loss of consortium damages are available to parents after the wrongful death of their minor

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children See id. at 160; Hancock v. Charfanor)ga-Hamilton County Hosp. Authori`ty, 54 S.W.Zd
234, 237 (Tenn. 2001). No award of damages for loss of consortium will ever make Tyler’s
parents whole, as children can provide a parent with an endless amount of affection and love.
Nevertheless, the Court has reviewed the facts of this case and recommends that Tyler’s parents
should be awarded $1,000,000.00 in loss of consortium damages

Therefore, the Court recommends that Defendants be required to pay Plaintiffs
$2,358,538.50 for the wrongful death of Tyler.

IV. Punitive Damages

Plaintiffs also request punitive damages be awarded for Defendants’ conduct In
Tennessee, the Court Should hold a bifurcated trial to determine punitive damages; however,
because default judgment has been entered, it is appropriate at this time for the Court to
determine if punitive damages should be awarded to Plaintiffs Punitive damages “should
operate to punish the defendant and deter others from like offenses.” Hoa'ges v. S. C. Toof& Co.,
833 S.W.Zd 896 (Tenn. 1992). “Tennessee presently allows punitive damages in cases involving
fraud, malice, gross negligence, oppression, evil motives, conscious indifference, and reckless
conduct implying ‘disregard of social obligations.”’ ]d. at 900-01. These damages should be
awarded in only cases involving the most egregious of wrongful acts See id. at 901. Therefore,
in Tennessee, the Court can award punitive damages only if the defendant acted intentionally,
fraudulently, maliciously, or recklessly. See id.

ln this case Defendants own and operate a restaurant and bar in lackson, Tennessee.
Defendants are alleged to have served alcohol to an individual who was obviously intoxicated,

and Plaintiffs allege that the alcohol Defendants served to Thweatt was the proximate and legal

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cause of the injuries sustained by Plaintiffs Plaintiffs even allege that Thweatt was helped to his
car when he was intoxicated A person acts recklessly when “the person is aware of, but
consciously disregards, a substantial and unjustifiable risk of such a nature that its disregard
constitutes a gross deviation from the standard of care that an ordinary person would exercise
under all the circumstances.” Id. fn this case Defendants knew they were not permitted to sell
alcoholic beverages to a person that was obviously intoxicated; however, it appears that
Defendants did serve alcohol to Thweatt even though he was obviously intoxicated
Furthennore, driving while intoxicated poses a substantial risk to society, and Defendants
consciously disregarded that substantial risk when they permitted Thweatt to continue consuming
alcohol and when they permitted Thweatt to leave Barley’s while driving under the influencel As
mentioned, Thweatt’s blood alcohol level was 0.27, over three times the legal limit of 0.08, so it
is unlikely that Defendants were unable to recognize Thweatt was intoxicated Therefore, the
Court concludes that Defendants’ conduct was reckless and that this case involves an egregious
act As such, the Court recommends that punitive damages should be awarded to Plaintiffs in an
attempt to both punish Defendants and to deter future misconduct

Because the Court recommends that punitive damages should be awarded the Court must
determine the amount of punitive damages that should be imposed on Defendants. When
determining the amount of punitive damages, it should be remembered that the primary purpose
of punitive damages is to deter misconduct The trier of fact should take into account nine
factors when awarding punitive damages including

(1) The defendant’s financial affairs, financial condition, and net worth;

(2) The nature and reprehensibility of defendant’s wrongdoing for example
(A) The impact of defendant’s conduct on the plaintiff, or

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(B) The relationship of defendant to plaintiff;
(3) The defendant’s awareness of the amount of harm being caused and
defendant’s motivation in causing the harm;
(4) The duration of defendant’s misconduct and whether defendant attempted to
conceal the conduct;
(5) The expense plaintiff has borne in the attempt to recover the losses;
(6) Whether defendant profited from the activity, and if defendant did profit,
whether the punitive award should be in excess of the profit in order to deter
similar future behavior;
('7) Whether, and the extent to which, defendant has been subjected to previous
punitive damage awards based upon the same wrongful act;
(8) Whether, once the misconduct became known to defendant, defendant took
remedial action or attempted to make amends by offering a prompt and fair
settlement for actual harm caused; and
(9) Any other circumstances shown by the evidence that bear on determining the
proper amount of the punitive award

Id. at 901-02.

ln taking into account these nine factors, the Court notes that Defendants are the owners
of a successful business Furthermore, the nature and reprehensibility of Defendant’s
wrongdoing is severe. Reprehensibility is determined “by considering whether the harm caused
was physical as opposed to economic; the tortious conduct evinced an indifference to or a
reckless disregard of the health or safety of others; [or whether] the target of the conduct had
financial vulnerability . . . .” State Farm Mutuaf Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419
(2003). Those who sell alcoholic beverages should not be permitted to knowingly sell more
beverages to a customer When that customer is intoxicated No amount of additional profits are
worth the danger such a sale imposes on society. Defendants recklessly disregarded the health
and safety of those who would be driving on the public roads across Tennessee when they sold

Thweatt additional alcohol and helped Thweatt to his car.

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As such, the Court recommends that Plaintiffs should be awarded $1,500,000.00 in
punitive damages
CONCLUSION
F or these reasons, the Court recommends that Defendants should be required to pay
Plaintiffs a total of$6,712,796.06. ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT
MUST BE FILED WITHIN TEN (10) DAYS FROM THE DATE OF SERVICE OF THE
REPORT. FAILURE TO FILE THEM WlTHlN TEN (10) DAYS OF SERVlCE MAY

CONSTITUTE A WAlVER OF OBIECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

C§T mm dan

S. Tl-IOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

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.lune 15, 2005 to the parties listed

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:04-CV-01147 was distributed by fax, mail, or direct printing on

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